          Case 1:23-cv-01615-CKK Document 52-2 Filed 10/19/23 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC.
MERCK SHARP & DOHME LLC,

                  Plaintiffs,
                                              Civ. No. 1:23-1615 (CKK)
      v.

XAVIER BECERRA, U.S. Secretary of
Health & Human Services; et al.,

                  Defendants.


                                [PROPOSED] ORDER

          Upon consideration of Defendants’ Cross-Motion for Summary Judgment, the

briefing in support of and in opposition to that Motion, and the entire record in this

case, the Court concludes that Defendants are not entitled to judgment as a matter

of law.    Accordingly, it is hereby ORDERED that Defendants’ Cross-Motion for

Summary Judgment is denied.



                                 _______________________________________________

                                 HONORABLE COLLEEN KOLLAR-KOTELLY
                                 UNITED STATES DISTRICT JUDGE
